           Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 1 of 61




                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

MICHAEL KLEINMAN,                              §
MMK HOLDINGS, LP, and                          §
AUSPRO ENTERPRISES, LP,                        §
                                               §
          Plaintiffs,                          §
                                               §       CIVIL ACTION NO. 1:22-cv-00527
v.                                             §
                                               §
CITY OF CEDAR PARK,                            §
                                               §
          Defendant.                           §


     APPENDIX TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

TO THIS HONORABLE COURT:

       Plaintiffs, Michael Kleinman, MMK Holdings, LP, and Auspro Enterprises, LP, file their

Appendix to Plaintiffs’ Motion for Preliminary Injunction. Plaintiffs rely on the following

evidence incorporated herein by reference, which is filed contemporaneously with this Appendix.

 EXHIBIT         DESCRIPTION                                         APPENDIX PAGE NO(S)
    A            Unsworn Declaration of Michael Kleinman (with            001 – 020
                 Exhibits 1-3) [Dkt 2-1]
      B          USPS Tracking                                              021 - 022
                 Ending 4293
      C          USPS Tracking                                              023 – 026
                 Ending 2660
     D           USPS Tracking [Dkt 5-1]                                    027 – 030
                 Ending 4293 and 2660
      E          Complaints dated May 18, 2022                              031 – 047
      F          Certified Mail receipts [Dkt 5-1]                          048 - 049
                 Ending 4293 and 2660
     G           16 TAC § 24.167                                            050 – 054
     H           16 TAC § 24.377                                            055 – 056
     I           City of Cedar Park Ordinance § 18.01.007                   057 - 059
          Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 2 of 61




                                              Respectfully submitted,

                                              SPROUSE SHRADER SMITH PLLC
                                              Jeffrey G. Henry
                                              State Bar No. 09479440
                                              Email: jeff.henry@sprouselaw.com
                                              805 Las Cimas Parkway, Suite 350
                                              Austin, Texas 78746
                                              Telephone: (512) 615-6650
                                              Facsimile: (512) 382-6644

                                              And

                                              SPROUSE SHRADER SMITH PLLC

                                              /s/ Tim Williams
                                              Tim Williams
                                              State Bar No. 24067940
                                              Email: tim.williams@sprouselaw.com
                                              701 S. Taylor Street, Suite 500 (79101)
                                              P.O. Box 15008
                                              Amarillo, Texas 79105-5008
                                              Telephone: (806) 468-3300
                                              Facsimile: (806) 373-3454


                                CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of July, 2022, a true and correct copy of the foregoing
pleading was served in accordance with the Federal Rules of Civil Procedure on the following
Counsel for the Defendant City of Cedar Park:

       Scott M. Tschirhart
       smtschirhart@rampagelaw.com
       Roxana I. Perez Stevens
       ristevens@rampagelaw.com
       DENTON NAVARRO ROCHA BERNAL & ZECH, P.C.
       2500 W. William Cannon Drive, Suite 609
       Austin, Texas 78745

                                                     /s/ Tim Williams
                                                     Tim Williams




                                                                                                  2
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 3 of 61




                      EXHIBIT A




                                                         APPX. 001
           Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 4 of 61


            Case 1:22-cv-00527-LY Document 2-1 Filed 06/01/22 Page 2 of 17




                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

 MICHAEL KLEINMAN,                               §
 MMK HOLDINGS, LP, and                           §
 AUSPRO ENTERPRISES, LP,                         §
                                                 §
      Plaintiffs,                                §
                                                 §       CIVIL ACTION NO. 1:22-cv-00527
 v.                                              §
                                                 §
 CITY OF CEDAR PARK,                             §
                                                 §
      Defendant.                                 §

                    UNSWORN DECLARATION OF MICHAEL KLEINMAN

STATE OF TEXAS                  §
                                §
COUNTY OF TRAVIS                §

       “My name is Michael Kleinman. I declare under penalty of perjury that the foregoing is
within my personal knowledge and true and correct.


      1. There are twenty-one Planet K Gifts retail stores throughout Central Texas, including
         Austin, Cedar Park, San Marcos, New Braunfels, San Antonio, and Bryan. The first store
         was opened in 1990. MMK Holdings, LP, operates the Planet K Gifts stores. AusPro
         Enterprises, LP, owns various real property, including real property leased by MMK
         Holdings for Planet K Gifts stores. I am an owner of both AusPro and MMK Holdings. I
         am personally familiar with the business operations of Planet K Gifts, including the
         location in Cedar Park. I oversee the operations and management of all Planet K Gifts
         stores, and have been personally involved with attempts to resolve issues surrounding the
         termination of sewer and wastewater services at the Planet K Gifts location in Cedar Park.

      2. In September 2021, AusPro purchased the property at 1511 N. Bell Blvd, Cedar Park,
         Williamson County, Texas (“Property”). Bell Blvd. is a five-mile stretch of non-toll U.S.
         Highway 183, and is the main north/south thoroughfare for the City of Cedar Park. The
         Property is located in the City’s Local Business (LB) zoning district.




UNSWORN DECLARATION OF MICHAEL KLEINMAN                                                          1

                                                                                        APPX. 002
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 5 of 61




     Case 1:22-cv-00527-LY Document 2-1 Filed 06/01/22 Page 3 of 17




                                                                      APPX. 003
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 6 of 61




     Case 1:22-cv-00527-LY Document 2-1 Filed 06/01/22 Page 4 of 17




                                                                      APPX. 004
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 7 of 61




     Case 1:22-cv-00527-LY Document 2-1 Filed 06/01/22 Page 5 of 17




                                                                      APPX. 005
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 8 of 61




                  Exhibit 1
To the Unsworn Declaration of Michael Kleinman




                                                         APPX. 006
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 9 of 61




Case 1:22-cv-00527-LY Document 2-1 Filed 06/01/22 Page 6 of 17




                    EXHIBIT 1




                                                          APPX. 007
             Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 10 of 61


                Case 1:22-cv-00527-LY Document 2-1 Filed 06/01/22 Page 7 of 17




                                               Cedar Park Vision Statement
We imagine the City of Cedar Park as a family-oriented community; one of compassion, integrity, diversity and faith. We are
an attractive destination, a leader in business development and committed to an exceptional quality of life.

December 3, 2021                                                       CE # 19940
                                                                       CERTIFIED # 7020 1290 0000 2362 9043

Auspro Enterprises LP
Attn: Michael Kleinman
PO Box 13549,
Austin, TX 78711-3549

RE: Prohibited Use

Legal Description: Cedar Park Square, Block B, Lot A & B

Locally Known Address: 1511 N Bell Blvd, Cedar Park, TX


Dear Michael Kleinman;

This letter is to inform you that on December 3, 2021, a City Code Compliance Officer discovered a City Code
violation on your property located at the address noted above. Upon inspection, the Code Compliance Officer
found that your property is in violation of Chapter 11 of the City of Cedar Park Code of Ordinances, which deals
with the regulation of zoning and land use within the City.

        CHAPTER 11, ZONING
        ARTICLE 11.02 ZONING DISTRICTS AND REGULATIONS
        Division 3. Land Uses, Sec. 11.02.062 Legend
        A. Using the tables. The tables in this section list the applicable land uses in rows, organized by general
        land use category. The zoning districts are arranged in columns. Where rows and columns intersect, a letter
        indicates if the use is permitted, conditional, special, or prohibited in the district, as stated below.
        B.    Symbols. All the tables in this section use the following symbols:
        4.   “–” means that the use is a prohibited use in the specified zoning district.




450 Cypress Creek Boulevard | Cedar Park, Texas 78613 | Office (512) 401.5000 | Fax (512) 258-6083 | www.cedarparktexas.gov




                                                                                                              APPX. 008
             Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 11 of 61


                Case 1:22-cv-00527-LY Document 2-1 Filed 06/01/22 Page 8 of 17




                                               Cedar Park Vision Statement
We imagine the City of Cedar Park as a family-oriented community; one of compassion, integrity, diversity and faith. We are
an attractive destination, a leader in business development and committed to an exceptional quality of life.


Head Shop is defined in the Cedar Park Zoning Ordinance as: “Any retail establishment open to the public that
presents, displays, or offers for sale paraphernalia, items, equipment, or products commonly used, intended to be used, or
commonly known to be used, for the ingestion, inhalation, preparation, or injection of illegal substances, to include any
device which has been fabricated, constructed, altered, adjusted, or marked especially for use in the smoking or ingestion
of a controlled substance, notwithstanding that it might also be possible to use the device for some other purpose.”
The subject property is zoned Local Business (LB). The Planet K business operating on this property is identified
as a head shop and is a prohibited use in the LB zoning district. Operation of this business must cease no later than
December 17, 2021.
A re-inspection of your property will be conducted on December 17, 2021 to ensure compliance. Failure to correct
the stated violation by December 17, 2021 may result in a citation being issued. Pursuant to Sec. 11.11.003 of the
Cedar Park Code of Ordinances, the owner and/or tenant of a building or premises upon which a violation of the
Code exists may be charged with a class C misdemeanor, punishable by a fine of up to $2,000 per violation.

Please be advised that if Code Compliance observes any additional violations of the above code provisions after
December 17, 2021, additional citations may be issued. Each day the violation continues is considered a separate
violation.

If you have any questions regarding this notice, please contact me at 512-401-5208 for further information. Our
office is open Monday through Friday 8 a.m. to 5 p.m. I appreciate your commitment to making the City of Cedar
Park’s vision a reality.

Sincerely,




Robert Henning
Code Compliance Supervisor
512-401-5208
robert.henning@cedarparktexas.gov
Development Services Department
City of Cedar Park

Cc: City Attorney’s Office
Amy Link, Director of Development Services




450 Cypress Creek Boulevard | Cedar Park, Texas 78613 | Office (512) 401.5000 | Fax (512) 258-6083 | www.cedarparktexas.gov




                                                                                                              APPX. 009
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 12 of 61




                   Exhibit 2
 To the Unsworn Declaration of Michael Kleinman




                                                          APPX. 010
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 13 of 61




Case 1:22-cv-00527-LY Document 2-1 Filed 06/01/22 Page 9 of 17




                    EXHIBIT 2




                                                          APPX. 011
             Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 14 of 61


                 Case 1:22-cv-00527-LY Document 2-1 Filed 06/01/22 Page 10 of 17




                                               Cedar Park Vision Statement
We imagine the City of Cedar Park as a family-oriented community; one of compassion, integrity, diversity and faith. We are
an attractive destination, a leader in business development and committed to an exceptional quality of life.

December 17, 2021                                                     CE # 19955
                                                                      CERTIFIED # 7020 0090 0001 9886 1700
Planet K
Attn: Michael Kleinman
1511 N. Bell Blvd.
Cedar Park, TX 78613

RE:     NOTICE OF VIOLATION for prohibited use of the property, no Certificate of
        Occupancy for the business, no sign permits obtained and prohibited signs erected;
        ORDER TO CEASE OPERATIONS

Legal Description: Cedar Park Square, Block B, Lot A & B
Locally Known Address: 1511 N Bell Blvd, Cedar Park, TX

Dear Michael Kleinman,
This letter is to inform you that on or about December 3, 2021, December 6, 2021 and December 15, 2021, a City
Code Compliance Officer discovered multiple City Code violations on your property located at the address noted
above. Upon inspection, the Code Compliance Officer found that your property is in violation of the following City
of Cedar Park Code of Ordinances (“CPCO”) Chapters, including but not limited to:
    1) Chapter 11, Zoning
             Article 11.02 Zoning Districts and Regulations, Division 3 Land Uses, Table 11.02.064 Nonresidential
              Uses by Zoning District

    2) Chapter 3, Building Regulations
            Article 3.02 Permits and Fees, Section 3.02.006 Certificate of occupancy; change in use; temporary
             certificate of occupancy
             o    (a) Change in use
    3) Chapter 13, Sign Regulations
            Article 13.03 Sign Standards, Section 13.03.002 Attached Signs
             o    (f) Wall Signs
            Article 13.03 Sign Standards, Section 13.03.003 Freestanding signs
             o    (b) setback
             o    (d) Monument signs
            Article 13.05 Sign Administration, Section 13.05.002 Prohibited signs
             o    (11) Pole signs
             o    (14) Roof signs




450 Cypress Creek Boulevard | Cedar Park, Texas 78613 | Office (512) 401.5000 | Fax (512) 258-6083 | www.cedarparktexas.gov




                                                                                                              APPX. 012
             Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 15 of 61


               Case 1:22-cv-00527-LY Document 2-1 Filed 06/01/22 Page 11 of 17




                                               Cedar Park Vision Statement
We imagine the City of Cedar Park as a family-oriented community; one of compassion, integrity, diversity and faith. We are
an attractive destination, a leader in business development and committed to an exceptional quality of life.

The subject tract is zoned Local Business (LB). Based upon on-site inspection of the Planet K business by the City
Code Compliance Officer, the use of the property is classified as a Head Shop, defined in the CPCO, Chapter 11
Zoning, as:
        “Any retail establishment open to the public that presents, displays, or offers for sale paraphernalia,
        items, equipment, or products commonly used, intended to be used, or commonly known to be used,
        for the ingestion, inhalation, preparation, or injection of illegal substances, to include any device
        which has been fabricated, constructed, altered, adjusted, or marked especially for use in the smoking
        or ingestion of a controlled substance, notwithstanding that it might also be possible to use the device
        for some other purpose.”

As noted in Chapter 11, Zoning, Table 11.02.064 Nonresidential Uses by Zoning District, head shop is a prohibited
use in the LB zoning district.

Additionally, CPCO Chapter 3 Building Regulations, Section 3.02.006(a) Change in use requires issuance of a
temporary or permanent certificate of occupancy prior to occupying the building. To date, no certificate of occupancy
has been applied for, approved, or issued for the Planet K business at this address.

Furthermore, CPCO Chapter 13, Sign Regulations establishes standards for several sign types within the City.
Section 13.03.002(f) establishes standards for wall signs. Table 13.03.02.04 Wall Sign Standards requires issuance
of a permit for wall signs, as well as compliance with dimensional and design standards. Section 13.03.003(b)
establishes setback provisions prohibiting placement of a freestanding sign in the public right-of-way and Section
13.03.003(d) establishes regulations for freestanding monument signs. Table 13.03.03.03 Monument Sign Standards
requires issuance of a permit for freestanding signs, as well as compliance with location and design characteristics.
Additionally, Table 13.03.03.04 Monument Sign Dimensions by Roadway Classification establishes width, area,
height and letter size requirements for freestanding monument signs. Section 13.05.002 Prohibited signs identifies
sign types that are prohibited within the City. Based upon inspection of the subject tract, two freestanding prohibited
pole signs and a prohibited roof sign have been erected on the subject tract, with the two freestanding pole signs
potentially being located in the right-of-way. Additionally, a wall sign has been erected on the subject tract without
a permit.

The Planet K business located on your property is a prohibited use, operating without a certificate of occupancy.
Additionally, signs have been erected on site without permits, including construction of prohibited signs. An
inspection by the Fire Marshal today determined the building cannot be deemed safe to occupy until an inspection of
the building is completed.

Therefore, the Planet K business shall cease operation and remain closed until a complete Fire inspection of
the building is performed and a certificate of occupancy is granted for the use of the building. A certificate of
occupancy application and sign permit applications for all existing signs on site must be submitted through the City
of Cedar Park Building Inspections Division no later than December 31, 2021. The Building Inspections Division
may be reached at 512-401-5100 or via email permits@cedarparktexas.gov.

A re-inspection of your property will be conducted on January 3, 2022 to ensure compliance. Failure to correct the
stated violations by January 3, 2022, may result in citations being issued.




450 Cypress Creek Boulevard | Cedar Park, Texas 78613 | Office (512) 401.5000 | Fax (512) 258-6083 | www.cedarparktexas.gov




                                                                                                               APPX. 013
             Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 16 of 61


               Case 1:22-cv-00527-LY Document 2-1 Filed 06/01/22 Page 12 of 17




                                               Cedar Park Vision Statement
We imagine the City of Cedar Park as a family-oriented community; one of compassion, integrity, diversity and faith. We are
an attractive destination, a leader in business development and committed to an exceptional quality of life.

Please be advised that if Code Compliance observes any additional violations of the above code provisions after
January 3, 2022, additional citations may be issued. Each day the violations continue is considered a separate
violation.

Further, pursuant to CPCO Chapter 3 Building Regulations, Article 3.02 Permits and Fees, Section 3.02.006(c), any
person violating any provision of this Article shall be deemed guilty of a misdemeanor and upon conviction, is
punishable by a fine not to exceed five hundred dollars ($500.00) per day as currently specified in Section 1.01.009
of the CPCO. Additionally, pursuant to CPCO Chapter 11 Zoning, Article 11.08 Enforcement and Remedies,
Division 1 Enforcement Procedures, Section 11.08.003 Penalties and remedies, any person violating any provisions
of this Chapter shall be deemed a class C misdemeanor and upon conviction, is punishable by a fine not to exceed
two thousand dollars ($2,000) per day as currently specified in Section 1.01.009 of the CPCO. Finally, pursuant to
CPCO Chapter 13 Sign Regulations, Article 13.05 Sign Administration, Section 13.05.004(d) Enforcement, failure
to comply with any provisions of this Chapter shall be deemed a class C misdemeanor and upon conviction, is
punishable by a fine not to exceed five hundred dollars ($500) per day as currently specified in Section 1.01.009 of
the CPCO.

All references to the CPCO may be found on the City’s website at the following address:
https://z2.franklinlegal.net/franklin/Z2Browser2.html?showset=cedarparkset&collection=cedarpark&doccode=z2C
ode_z20000001.

Please be advised that this Notice of Violation supersedes the previous notices issued on December 3, 2021 and
December 6, 2021 under respective case numbers CE-19940 and CE-19943.

If you have any questions regarding this notice, please contact me at 512-401-5208 for further information. Our
office is open Monday through Friday 8 a.m. to 5 p.m. I appreciate your commitment to making the City of Cedar
Park’s vision a reality.

Sincerely,




Robert Henning
Code Compliance Supervisor
512-401-5208
robert.henning@cedarparktexas.gov
Development Services Department
City of Cedar Park

Cc: City Attorney’s Office
Amy Link, Director of Development Services




450 Cypress Creek Boulevard | Cedar Park, Texas 78613 | Office (512) 401.5000 | Fax (512) 258-6083 | www.cedarparktexas.gov




                                                                                                              APPX. 014
          Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 17 of 61


               Case 1:22-cv-00527-LY Document 2-1 Filed 06/01/22 Page 13 of 17




                                               Cedar Park Vision Statement
We imagine the City of Cedar Park as a family-oriented community; one of compassion, integrity, diversity and faith. We are
an attractive destination, a leader in business development and committed to an exceptional quality of life.

                                               Pictures of Sign Violations




450 Cypress Creek Boulevard | Cedar Park, Texas 78613 | Office (512) 401.5000 | Fax (512) 258-6083 | www.cedarparktexas.gov




                                                                                                             APPX. 015
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 18 of 61




                   Exhibit 3
 To the Unsworn Declaration of Michael Kleinman




                                                          APPX. 016
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 19 of 61




Case 1:22-cv-00527-LY Document 2-1 Filed 06/01/22 Page 14 of 17




                     EXHIBIT 3




                                                          APPX. 017
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 20 of 61




     Case 1:22-cv-00527-LY Document 2-1 Filed 06/01/22 Page 15 of 17




                                                                       APPX. 018
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 21 of 61




     Case 1:22-cv-00527-LY Document 2-1 Filed 06/01/22 Page 16 of 17




                                                                       APPX. 019
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 22 of 61




     Case 1:22-cv-00527-LY Document 2-1 Filed 06/01/22 Page 17 of 17




                                                                       APPX. 020
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 23 of 61




                       EXHIBIT B




                                                          APPX. 021
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 24 of 61




                                                          APPX. 022
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 25 of 61




                       EXHIBIT C




                                                          APPX. 023
                  Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 26 of 61


7/8/22, 9:39 AM                                               USPS.com® - USPS Tracking® Results




   USPS Tracking
                                           ®                                                                                 FAQs   




                                                Track Another Package                   +




                                                                                                                           Remove   
   Tracking Number: 70202450000081722660

   We could not access the delivery location to deliver your package at 9:24 am on January 29, 2022
   in CEDAR PARK, TX 78613. We will redeliver on the next delivery day. No action needed.

   USPS Tracking Plus®: Extended Tracking History - 3 years has been purchased




                                                                                                                                    Feedback
   No Access to Delivery Location
   January 29, 2022 at 9:24 am
   CEDAR PARK, TX 78613


   Get Updates        




                                                                                                                              
       Text & Email Updates


                                                                                                                              
       Tracking History


       January 29, 2022, 9:24 am
       No Access to Delivery Location
       CEDAR PARK, TX 78613
       We could not access the delivery location to deliver your package at 9:24 am on January 29, 2022 in
       CEDAR PARK, TX 78613. We will redeliver on the next delivery day. No action needed.



       January 29, 2022, 7:07 am
       Out for Delivery
       CEDAR PARK, TX 78613


https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=3&text28777=&tLabels=70202450000081722660%2C%2C&tABt=true                  1/3




                                                                                                                    APPX. 024
                  Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 27 of 61


7/8/22, 9:39 AM                                               USPS.com® - USPS Tracking® Results

       January 29, 2022, 6:56 am
       Arrived at Post Office
       CEDAR PARK, TX 78613



       January 28, 2022, 3:25 pm
       Departed USPS Regional Facility
       AUSTIN TX DISTRIBUTION CENTER



       January 26, 2022, 10:42 am
       Addressee Unknown
       CEDAR PARK, TX 78613



       January 26, 2022, 6:10 am
       Out for Delivery
       CEDAR PARK, TX 78613



       January 26, 2022, 3:53 am
       Arrived at Post Office




                                                                                                                               Feedback
       CEDAR PARK, TX 78613



       January 24, 2022, 9:10 pm
       Arrived at USPS Regional Facility
       AUSTIN TX DISTRIBUTION CENTER




                                                                                                                           
       USPS Tracking Plus®


                                                                                                                           
       Product Information



                                                             See Less      




                                 Can’t find what you’re looking for?
                         Go to our FAQs section to find answers to your tracking questions.


https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=3&text28777=&tLabels=70202450000081722660%2C%2C&tABt=true             2/3




                                                                                                                    APPX. 025
                  Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 28 of 61


7/8/22, 9:39 AM                                               USPS.com® - USPS Tracking® Results




                                                                  FAQs




                                                                                                                            Feedback




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=3&text28777=&tLabels=70202450000081722660%2C%2C&tABt=true          3/3




                                                                                                                    APPX. 026
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 29 of 61




                       EXHIBIT D




                                                          APPX. 027
                   Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 30 of 61


6/10/22, 9:53 AM       Case 1:22-cv-00527-LY Document   5-1- USPS
                                                 USPS.com®    Filed  06/15/22
                                                                  Tracking® Results Page 5 of 31




   USPS Tracking
                                           ®                                                                                 FAQs   




                                                 Track Another Package                   +




                                                                                                                           Remove   
   Tracking Number: 70200090000198824293

   Your item was delivered to an individual at the address at 11:01 am on February 23, 2022 in
   CEDAR PARK, TX 78613.

   USPS Tracking Plus® Available                




                                                                                                                                    Feedback
     Delivered, Left with Individual
   February 23, 2022 at 11:01 am
   CEDAR PARK, TX 78613


   Get Updates        




                                                                                                                              
       Text & Email Updates


                                                                                                                              
       Tracking History


                                                                                                                              
       USPS Tracking Plus®


                                                                                                                              
       Product Information



                                                              See Less      




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=70200090000198824293%2C&tABt=false                    1/2




                                                                                                                         APPX. 028
                   Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 31 of 61


6/10/22, 9:53 AM       Case 1:22-cv-00527-LY Document   5-1- USPS
                                                 USPS.com®    Filed  06/15/22
                                                                  Tracking® Results Page 6 of 31

                                 Can’t find what you’re looking for?
                         Go to our FAQs section to find answers to your tracking questions.


                                                                  FAQs




                                                                                                                                Feedback




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=70200090000198824293%2C&tABt=false                2/2




                                                                                                                         APPX. 029
             Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 32 of 61




             Case 1:22-cv-00527-LY Document 5-1 Filed 06/15/22 Page 7 of 31



                                               Go to USPS.com Site Index.Skip to Main ContentSkip All Utility Navigation
                                                                                                                English



USPS Tracking                     ®

                                                                                                 Tracking FAQs


                              Track Another Package+



Track Packages
Anytime, Anywhere
Get the free Informed Delivery® feature to receive automated notifications on your packages
Learn More


Remove
Tracking Number: 70202450000081722660


We could not access the delivery location to deliver your package at 9:24 am on
January 29, 2022 in CEDAR PARK, TX 78613. We will redeliver on the next delivery
day. No action needed.

USPS Tracking Plus® Available
Status

No Access to Delivery Location
January 29, 2022 at 9:24 am
CEDAR PARK, TX 78613



                                                                                                               Alert
Text & Email Updates
Tracking History
USPS Tracking Plus®
Product Information
See Less

                   Can’t find what you’re looking for?
                                                                                                   APPX. 030
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 33 of 61




                       EXHIBIT E




                                                          APPX. 031
       Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 34 of 61




2022002153




                                                                 APPX. 032
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 35 of 61




                                                          APPX. 033
      Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 36 of 61




2022002154




                                                                APPX. 034
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 37 of 61




                                                          APPX. 035
       Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 38 of 61




2022002155




                                                                 APPX. 036
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 39 of 61




                                                          APPX. 037
        Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 40 of 61




2022002156




                                                                  APPX. 038
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 41 of 61




                                                          APPX. 039
        Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 42 of 61




2022002157




                                                                  APPX. 040
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 43 of 61




                                                          APPX. 041
        Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 44 of 61




2022002158




                                                                  APPX. 042
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 45 of 61




                                                          APPX. 043
     Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 46 of 61




2022002159




                                                               APPX. 044
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 47 of 61




                                                          APPX. 045
      Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 48 of 61




2022002160




                                                                APPX. 046
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 49 of 61




                                                          APPX. 047
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 50 of 61




                       EXHIBIT F




                                                          APPX. 048
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 51 of 61




     Case 1:22-cv-00527-LY Document 5-1 Filed 06/15/22 Page 4 of 31




                                              U.S. Postal Service™
                              rn              CERTIFIED MAIL® RECEIPT
                              er              Domestic Mail Only
                              n.J
                              :::r                                                                                                  ..
                              rlJ                                                           I>   t.   :i..                          L ll!l
                              c0 lree::,rt::,;ifi"'1ed::;.M:.::a'°il"'Fee:-::"---"----''--......:..-.:.c_:'-'----r'----=-=--..::...---=--.......- - - '
                              cO
                              er t,;$,_,_--=~-:-.,--~--~----~
                                 Extra Services & Fees (check box, add fee as approprtate)
                              ,..:i          D Return Receipt (hardcopy)           •-----
                              □              0 Return Receipt (electronic)         $ _ _ _ __
                              □              0 Certified Mail RestMcted Delivery $ _ _ _ __
                              □              D Adult Signature Required            $ _ _ _ __
                                             O Adult Signature Restricted Delivery $
                              ~         Postage

                              □ r.a::.:::n==::-=::-:.-.=:----------1
                              □




                                                 U.S. Postal Service™
                                                 CERTIFIED MAIL® RECEIPT
                                      □
                                      ...a       Domestic Mail Only
                                      ...a
                                      n.J
                                      n.J
                                      l'-
                                                                                                                                        E
                                      r-'I $
                                      cO Extra            rvices & Fees (check box, add fee as appropriate)
                                                D Return Receipt (hardcopy)             $ _ _ _ __
                                      □         D Return Receipt (electronic)           $ _ _ _ __                            Postmark
                                      □
                                      □         0   Certified Mail Res!Mcted Delivery   $~----
                                                □ Adult    Signature Required           $ _ _ _ __
                                      □
                                                D Adult Signature Restricted Delivery   $
                                      □        Postage
                                      I.fl                                                                          \
                                      :::r
                                      n.J                                                                                \
                                      □
                                      n.J
                                      □                                                                                           ------------·-------
                                      I'-
                                                                                                                 .. '1h_ (If 3····· .....
                                                                                                                    ..   ..   -   ..




                                                                                                                                             APPX. 049
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 52 of 61




                       EXHIBIT G




                                                          APPX. 050
             Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 53 of 61



                                                   16 TAC § 24.167
                             This document reflects all regulations in effect as of June 30, 2022

TX - Texas Administrative Code > TITLE 16. ECONOMIC REGULATION > PART 2. PUBLIC
UTILITY COMMISSION OF TEXAS > CHAPTER 24. SUBSTANTIVE RULES APPLICABLE TO
WATER AND SEWER SERVICE PROVIDERS > SUBCHAPTER F. CUSTOMER SERVICE AND
PROTECTION


§ 24.167. Discontinuance of Service

      (a) Disconnection with notice.
          (1) Notice requirements. Proper notice shall consist of a separate written statement which a utility must mail or hand
          deliver to a customer before service may be disconnected. The notice must be provided in English and Spanish if
          necessary to adequately inform the customer and must include the following information:
              (A) the words "termination notice" or similar language approved by the commission written in a way to stand
              out from other information on the notice;
              (B) the action required to avoid disconnection, such as paying past due service charges;
              (C) the date by which the required action must be completed to avoid disconnection. This date must be at least
              ten days from the date the notice is provided unless a shorter time is authorized by the commission;
              (D) the intended date of disconnection;
              (E) the office hours, telephone number, and address of the utility's local office;
              (F) the total past due charges;
              (G) all reconnect fees that will be required to restore water or sewer service if service is disconnected.
              (H) if notice is provided by a sewer service provider under subsection (e) of this section, the notice must also
              state: (i) that failure to pay past due sewer charges will result in termination of water service; and (ii) that water
              service will not be reconnected until all past due and currently due sewer service charges and the sewer reconnect
              fee are paid.
          (2) Reasons for disconnection. Utility service may be disconnected after proper notice for any of the following
          reasons:
              (A) failure to pay a delinquent account for utility service or failure to comply with the terms of a deferred
              payment agreement. (i) Payment by check which has been rejected for insufficient funds, closed account, or for
              which a stop payment order has been issued is not deemed to be payment to the utility. (ii) Payment at a utility's
              office or authorized payment agency is considered payment to the utility. (iii) The utility is not obligated to accept
              payment of the bill when an employee is at the customer's location to disconnect service;
              (B) violation of the utility's rules pertaining to the use of service in a manner which interferes with the service of
              others;
              (C) operation of non-standard equipment, if a reasonable attempt has been made to notify the customer and the
              customer is provided with a reasonable opportunity to remedy the situation;
              (D) failure to comply with deposit or guarantee arrangements where required by § 24.159 of this title (relating to
              Service Applicant and Customer Deposit);
              (E) failure to pay charges for sewer service provided by another retail public utility in accordance with
              subsection (e) of this section; and

                                                                                                            APPX. 051
       Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 54 of 61

                                                                                                                  Page 2 of 4
                                                  16 TAC § 24.167

         (F) failure to pay solid waste disposal fees collected under contract with a county or other public agency.
(b) Disconnection without notice. Utility service may be disconnected without prior notice for the following reasons:
    (1) where a known and dangerous condition related to the type of service provided exists. Where reasonable, given
    the nature of the reason for disconnection, a written notice of the disconnection, explaining the reason service was
    disconnected, shall be posted at the entrance to the property, the place of common entry or upon the front door of
    each affected residential unit as soon as possible after service has been disconnected;
    (2) where service is connected without authority by a person who has not made application for service;
    (3) where service has been reconnected without authority following termination of service for nonpayment under
    subsection (a) of this section;
    (4) or in instances of tampering with the utility's meter or equipment, bypassing the same, or other instances of
    diversion as defined in § 24.169 of this title (relating to Meters).
(c) Disconnection prohibited. Utility service may not be disconnected for any of the following reasons:
    (1) failure to pay for utility service provided to a previous occupant of the premises;
    (2) failure to pay for merchandise, or charges for non-utility service provided by the utility;
    (3) failure to pay for a different type or class of utility service unless the fee for such service is included on the same
    bill or unless such disconnection is in accordance with subsection (e) of this section;
    (4) failure to pay the account of another customer as guarantor thereof, unless the utility has in writing the guarantee
    as a condition precedent to service;
    (5) failure to pay charges arising from an underbilling due to any faulty metering, unless the meter has been tampered
    with or unless such underbilling charges are due under § 24.169 of this title;
    (6) failure to pay an estimated bill other than a bill rendered pursuant to an approved meter-reading plan, unless the
    utility is unable to read the meter due to circumstances beyond its control;
    (7) failure to comply with regulations or rules regarding anything other than the type of service being provided
    including failure to comply with septic tank regulations or sewer hook-up requirements;
    (8) refusal of a current customer to sign a service agreement; or,
    (9) failure to pay standby fees.
(d) Disconnection due to utility abandonment. No public utility may abandon a customer or a certificated service area
unless it has complied with the requirements of § 24.247 of this title (relating to Requirement to Provide Continuous and
Adequate Service) and obtained approval from the commission.
(e) Disconnection of water service due to nonpayment of sewer charges.
    (1) Where sewer service is provided by one retail public utility and water service is provided by another retail public
    utility, the retail public utility that provides the water service shall disconnect water service to a customer who has not
    paid undisputed sewer charges if requested by the sewer service provider and if an agreement exists between the two
    retail public utilities regarding such disconnection or if an order has been issued by the commission specifying a
    process for such disconnections.
         (A) Before water service may be terminated, proper notice of such termination must be given to the customer
         and the water service provider by the sewer service provider. Such notice must be in conformity with subsection
         (a) of this section.
         (B) Water and sewer service shall be reconnected in accordance with subsection (h) of this section. The water
         service provider may not charge the customer a reconnect fee prior to reconnection unless it is for nonpayment
         of water service charges in accordance with its approved tariff. The water service provider may require the
         customer to pay any water service charges which have been billed but remain unpaid prior to reconnection. The
         water utility may require the sewer utility to reimburse it for the cost of disconnecting the water service in an
                                                                                                        APPX. 052
        Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 55 of 61

                                                                                                                   Page 3 of 4
                                                  16 TAC § 24.167

         amount not to exceed $ 50. The sewer utility may charge the customer its approved reconnect fee for
         nonpayment in addition to any past due charges.
         (C) If the retail public utilities providing water and sewer service cannot reach an agreement regarding
         disconnection of water service for nonpayment of sewer charges, the commission may issue an order requiring
         disconnections under specified conditions.
         (D) The commission will issue an order requiring termination of service by the retail public utility providing
         water service if either: (i) the retail public utility providing sewer service has obtained funding through the State
         or Federal government for the provision, expansion or upgrading of such sewer service; or, (ii) the commission
         finds that an order is necessary to effectuate the purposes of the Texas Water Code.
    (2) A utility providing water service to customers who are provided sewer service by another retail public utility may
    enter into an agreement to provide billing services for the sewer service provider. In this instance, the customer may
    only be charged the tariffed reconnect fee for nonpayment of a bill on the water service provider's tariff.
    (3) This section outlines the duties of a water service provider to an area served by a sewer service provider of certain
    political subdivisions.
         (A) This section applies only to an area: (i) that is located in a county that has a population of more than 1.3
         million; and (ii) in which a customer's sewer service is provided by a municipality or conservation and reclamation
         district that also provides water service to other customers and the same customer's water service is provided by
         another entity.
         (B) For each person the water service provider serves in an area to which this section applies, the water service
         provider shall provide the municipality or district with any relevant customer information so that the municipality
         or district may bill users of the sewer service directly and verify the water consumption of users. Relevant
         customer information provided under this section includes the name, address, and telephone number of the
         customer of the water service provider, the monthly meter readings of the customer, monthly consumption
         information, including any billing adjustments, and certain meter information, such as brand, model, age, and
         location.
         (C) The municipality or district shall reimburse the water service provider for its reasonable and actual
         incremental costs for providing services to the municipality or district under this section. Incremental costs are
         limited to only those costs that are in addition to the water service provider's costs in providing its services to its
         customers, and those costs must be consistent with the costs incurred by other water utility providers. Only if
         requested by the wastewater provider, the water service provider must provide the municipality or district with
         documentation certified by a certified public accountant of the reasonable and actual incremental costs for
         providing services to the municipality or district under this section.
         (D) A municipality or conservation and reclamation district may provide written notice to a person to whom the
         municipality's or district's sewer service system provides service if the person has failed to pay for the service for
         more than 90 days. The notice must state the past due amount owed and the deadline by which the past due
         amount must be paid or the person will lose water service. The notice may be sent by First Class mail or hand-
         delivered to the location at which the sewer service is provided.
         (E) The municipality or district may notify the water service provider of a person who fails to make timely
         payment after the person receives notice under subparagraph (D) of this paragraph. The notice must indicate the
         number of days the person has failed to pay for sewer service and the total amount past due. On receipt of the
         notice, the water service provider shall discontinue water service to the person.
         (F) This subsection does not apply to a nonprofit water supply or sewer service corporation created under Texas
         Water Code, Chapter 67, or a district created under Texas Water Code, Chapter 65.
(f) Disconnection for ill customers. No utility may discontinue service to a delinquent residential customer when that
customer establishes that some person residing at that residence will become seriously ill or more seriously ill if service is
discontinued. To avoid disconnection under these circumstances, the customer must provide a written statement from a
physician to the utility prior to the stated date of disconnection. Service may be disconnected in accordance with
                                                                                                        APPX. 053
                Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 56 of 61




                                                                                                                          Page 4 of 4
                                                            16 TAC § 24.167

        subsection (a) of this section if the next month's bill and the past due bill are not paid by the due date of the next month's
        bill, unless the customer enters into a deferred payment plan with the utility.
        (g) Disconnection upon customer request. A utility shall disconnect service no later than the end of the next working day
        after receiving a written request from the customer.
        (h) Service restoration.
            (1) Utility personnel must be available during normal business hours to accept payment on the day service is
            disconnected and the day after service is disconnected, unless the disconnection is at the customer's request or due to
            the existence of a dangerous condition related to the type of service provided. Once the past due service charges and
            applicable reconnect fees are paid or other circumstances which resulted in disconnection are corrected, the utility
            must restore service within 36 hours.
            (2) Reconnect Fees.
                    (A) A reconnect fee, or seasonal reconnect fee as appropriate, may be charged for restoring service if listed on
                    the utility's approved tariff.
                    (B) A reconnect fee may not be charged where service was not disconnected, except in circumstances where a
                    utility representative arrives at a customer's service location with the intent to disconnect service because of a
                    delinquent bill, and the customer prevents the utility from disconnecting the service.
                    (C) Except as provided under § 24.169(c) of this title when a customer prevents disconnection at the water
                    meter or connecting point between the utility and customer sewer lines, a reconnect fee charged for restoring
                    water or sewer service after disconnection for nonpayment of monthly charges shall not exceed $ 25 provided the
                    customer pays the delinquent charges and requests to have service restored within 45 days. If a request to have
                    service reconnected is not made within 45 days of the date of disconnection, the utility may charge its approved
                    reconnect fee or seasonal reconnect fee.
                    (D) A reconnect fee cannot be charged for reconnecting service after disconnection for failure to pay solid waste
                    disposal fees collected under a contract with a county or other public agency.

History

SOURCE:
The provisions of this § 24.167 adopted to be effective October 17, 2018, 43 TexReg 6826

TEXAS ADMINISTRATIVE CODE


  End of Document




                                                                                                                APPX. 054
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 57 of 61




                       EXHIBIT H




                                                          APPX. 055
                 Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 58 of 61



                                                       16 TAC § 24.377
                                  This document reflects all regulations in effect as of June 30, 2022

TX - Texas Administrative Code > TITLE 16. ECONOMIC REGULATION > PART 2. PUBLIC
UTILITY COMMISSION OF TEXAS > CHAPTER 24. SUBSTANTIVE RULES APPLICABLE TO
WATER AND SEWER SERVICE PROVIDERS > SUBCHAPTER L. PROVISIONS REGARDING
MUNICIPALITIES


§ 24.377. Applicability of Commission Service Rules Within the Corporate Limits of a
Municipality

The commission's rules relating to service and response to requests for service will apply to utilities operating within the corporate
limits of a municipality unless the municipality adopts its own rules. These rules include Subchapters F and G of this chapter
(relating to Customer Service and Protection and Quality of Service).

History

SOURCE:
The provisions of this § 24.377 adopted to be effective October 17, 2018, 43 TexReg 6826


TEXAS ADMINISTRATIVE CODE



  End of Document




                                                                                                                APPX. 056
Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 59 of 61




                       EXHIBIT I




                                                          APPX. 057
           Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 60 of 61




§ 18.01.007Termination of water service.
(a)
Reasons for termination enumerated.

The City shall have the right to disconnect or refuse to connect or reconnect any water and/or wastewater
service connection for the following reasons:
(1)
Failure of the water or wastewater service customer to meet the applicable provisions of law;

(2)
Violation by water or wastewater service customer of the rules and regulations pertaining to such service;

(3)
Nonpayment of bills by water or wastewater service customer;

(4)
Payment of a water or wastewater bill or security deposit with a check or draft which is not honored by the
drawee;

(5)
Willful and negligent waste of water due to leaks during an established emergency;

(6)
Molesting any meter, seal, or other equipment controlling or regulating the supply of water or wastewater
service;

(7)
Theft or diversion and/or use of water or wastewater without payment therefor;

(8)
Vacancy of premises;

(9)
Selling, delivering, or furnishing water without written permission from the City water department, either
on or off the consumer’s premises; or

(10)
Existence of a known dangerous condition for as long as the condition exists, in which case service may be
terminated without notice.

(b)
Termination notice.




                                                                                           APPX. 058
          Case 1:22-cv-00527-LY Document 21 Filed 07/08/22 Page 61 of 61




Except for circumstances requiring immediate action to protect, life or property, termination of service shall
not take place prior to the giving of at least five (5) days notice to the customer by mail of the intention of
the City to so terminate. Said notice shall:
(1)
Be sent by mail to the last known billing address of the customer;

(2)
State the reason for the proposed termination;

(3)
State the customer’s right to a hearing before such termination occurs; and

(4)
State that the customer who desires a hearing must request a hearing by contacting the City Manager at a
stated telephone number or in person before the expiration of five (5) days from the date of mailing.

(c)
Resumption of water service.

If any of the reasons for termination set forth in subsection (a) above continue for a period in excess of five
(5) days after notice is mailed, and the customer has not requested a hearing within the specified time period,
or if a hearing is requested and the City Manager determines that the facts support the issuance of the
termination, water and wastewater service to the user shall be shut off and the meter removed or meter box
locked. Water service shall not be resumed until:
(1)
Generally.

The necessary reparations are made by the customer to the City in accordance with the City Manager’s
ruling.

(2)
For delinquency.

All amounts owing by the customer are paid in full, including any penalty charge, return check charge and
reconnection fee, if applicable.
(Ordinance CO52-16-09-08-D1 adopted 9/8/16)




                                                                                              APPX. 059
